Case 6:19-cv-01900-ACC-GJK Document 21 Filed 11/09/20 Page 1 of 2 PageID 1406




                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION


PATRICIA MAYE REED,

                       Plaintiff,

v.                                                          Case No: 6:19-cv-1900-Orl-22GJK

COMMISSIONER OF SOCIAL
SECURITY,

                       Defendant.



                                           ORDER
       This cause is before the Court on appeal from the final decision of the Commissioner of

Social Security denying Plaintiff’s application for Social Security Disability Benefits.

       The United States Magistrate Judge has submitted a report recommending that the final

decision be AFFIRMED. (Doc. 20).

       After an independent de novo review of the record in this matter, and noting that no

objections were timely filed, the Court agrees entirely with the findings of fact and conclusions

of law in the Report and Recommendation.

       Therefore, it is ORDERED as follows:

       1.      The Report and Recommendation filed October 22, 2020 (Doc. No. 20) is

ADOPTED and CONFIRMED and made a part of this Order.

       2.      The final decision of the Commissioner of Social Security denying Plaintiff’s

application for Social Security Disability Benefits is AFFIRMED pursuant to sentence four of

42 U.S.C. § 405(g).

       3.      The Clerk is DIRECTED to enter judgment, accordingly, and CLOSE the case.
Case 6:19-cv-01900-ACC-GJK Document 21 Filed 11/09/20 Page 2 of 2 PageID 1407




       DONE and ORDERED in Orlando, Florida on November 9, 2020.




Copies furnished to:

Counsel of Record




                                        -2-
